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5
6    Attorney for Defendant
     JUN MICHAEL DIRAIN
7
8                    IN THE UNITED STATES DISTRICT COURT

9                  FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,       ) Case No. 2:11-CR-0296 WBS
                                     )
12        Plaintiff,                 )
                                     ) AMENDED STIPULATION AND ORDER
13                 v.                ) (PROPOSED) REQUESTING
                                     ) REASSIGNMENT OF CASE FOR
14   MOCTEZUMA TOVAR et al.,         ) SENTENCING
                                     )
15        Defendants.                )
                                     ) Judge: Hon. William B. Shubb
16                                   )

17
18        It is hereby stipulated and agreed between plaintiff,
19   United States of America, and defendants Moctezuma Tovar, Manuel
20   Herrera, Sandra Hermosillo, and Jun Michael Dirain, pursuant to
21   Eastern District Local Rule 123, that the above case should be
22   reassigned to Hon. John A. Mendez for all proceedings, including
23   sentencing of the four defendants named herein.
24        The stipulating parties reviewed Local Rule 123 and believe
25   reassignment to a single judge is likely to effect a substantial
26   savings of judicial effort and will aid the Court as well as
27   counsel in avoiding substantial duplication of labor within the
28   meaning of Local Rule 123(a)(3) and (a)(4).        The case was

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1    reassigned to Judge Mendez for trial of defendants Ruben

2    Rodriguez and Jaime Mayorga on November 30, 2016 (docket 472)

3    and Judge Mendez has presided at substantial pretrial and trial

4    proceedings since that time, including various motions, two jury

5    trials (the second resulting in convictions) and sentencing of

6    defendant Christian Parada Renteria (doc. 757).         The four

7    defendants named in this stipulation have delayed their

8    sentencings pursuant to cooperation agreements to follow the

9    sentencings of defendants Rodriguez and Mayorga by Judge Mendez

10   and have testified at subsequent trials.

11           In recent discussions, counsel for all parties have seen

12   that issues common to the trial defendants, including the use of

13   experts to address sentencing guidelines issues, will likely

14   affect sentencings of those defendants who pled guilty.          In

15   June, counsel for defendant Dirain spoke to Judge Mendez’s

16   courtroom deputy who advised that Judge Mendez is willing to

17   sentence the four defendants named herein if the Court chooses

18   to reassign them.    In light of the issues common to all

19   defendants, the parties agree that assignment of the case to a

20   single judge for sentencing will be substantially more

21   efficient.    Accordingly, the parties respectfully request that

22   the case be reassigned to Hon. John A. Mendez as to all

23   defendants.

24   /////

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1            The parties further agree that, under Local Rule 123(c),

2    the Court itself is authorized to enter this order of

3    reassignment if it “determines that assignment of the actions to

4    a single Judge is likely to effect a savings of judicial effort

5    or other economies.”

6                                     Respectfully Submitted,

7                                     HEATHER E. WILLIAMS
                                      Federal Defender
8
9    Dated:    July 29, 2019          /s/ T. Zindel__________________
                                      TIMOTHY ZINDEL
10                                    Assistant Federal Defender
                                      Attorney for JUN MICHAEL DIRAIN
11
12                                    McGREGOR SCOTT
                                      United States Attorney
13
14   Dated:    July 29, 2019          /s/ T. Zindel for B. Fogerty
                                      BRIAN FOGERTY
15                                    Assistant U.S. Attorney

16
17   Dated: July 29, 2019          /s/ T. Zindel for T. Johnson
     ______________________________THOMAS A. JOHNSON
18                                 Attorney for MOCTEZUMA TOVAR

19
20   Dated:    July 29, 2019          /s/ T. Zindel for J. Manning
                                      JOHN RICHARD MANNING
21                                    Attorney for MANUEL HERRERA

22
23   Dated:    July 29, 2019          /s/ T. Zindel for E. Radekin      __
                                      ERIN J. RADEKIN
24                                    Attorney for SANDRA HERMOSILLO

25   /////

26   /////

27   /////

28   /////

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1                                   O R D E R

2
3         The Court does not find that assignment of all four

4    defendants named above to a single Judge would likely result in

5    any substantial saving of judicial effort or prove to be more

6    economical for the court or the parties.       Accordingly, the

7    undersigned judges decline to adopt the above stipulation to

8    reassign the above action to Judge Mendez for all further

9    proceedings.   The case as against defendants Moctezuma Tovar,

10   Manuel Herrera, Sandra Hermosillo, and Jun Michael Dirain shall

11   remain assigned to Judge Shubb.

12        IT IS SO ORDERED.

13
14   Dated:   July 31, 2019

15
16
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18
     Dated:   July 31, 2019           _/s/ John A. Mendez _____________
19                                    HON. JOHN A. MENDEZ
                                      United States District Judge
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